Case 3:25-cv-00398-BAS-MMP         Document 9       Filed 03/28/25   PageID.30     Page 1 of 1




    1   P. Kristofer Strojnik, State Bar No. 242728
        pstrojnik@strojniklaw.com
    2   Esplanade Center III, Suite 700
    3   2415 East Camelback Road
        Phoenix, Arizona 85016
    4   Telephone: (415) 450-0100
    5
        Attorneys for Plaintiff
    6   THERESA BROOKE
    7                             UNITED STATES DISTRICT COURT
    8
                             SOUTHERN DISTRICT OF CALIFORNIA
    9
        THERESA BROOKE, a married woman
   10
        dealing with her sole and separate claim,       Case No: 3:25-cv-398
   11
                             Plaintiff,                 NOTICE OF VOLUNTARY
   12                                                   DISMISSAL WITH PREJUDICE
   13   vs.

   14   OCEAN HOLIDAY LP,
   15
                              Defendant.
   16
   17
               NOTICE IS HEREBY GIVEN that Plaintiff voluntarily dismisses the above case
   18
        with prejudice. Fed.R.Civ.P. 41(a)(1). Each party to bear their own fees and costs.
   19
   20          RESPECTFULLY SUBMITTED this 28th day of March, 2025.
   21
   22                                               /s/ Peter Kristofer Strojnik
                                                    Peter Kristofer Strojnik (242728)
   23
                                                    Attorneys for Plaintiff
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